     Case 1:23-cr-00239-CKK        Document 328-1       Filed 05/07/25     Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.

 ILYA LICHTENSTEIN, et. al.,                             CRIMINAL NO. 23-cr-239 (CKK)

        Defendants,

        and

 JOHN DOE

        Intervenor, Claimant, and Third-Party
        Petitioner.


                                  [PROPOSED] ORDER

       Upon consideration of Third-Party Petitioner John Doe’s Opposition To Third-Party

Petitioners iFinex Inc. and BFXNA Inc.’s Motion To Dismiss Certain Claimants’ Ancillary

Petitions, it is hereby ORDERED that Third-Party Petitioners iFinex Inc. and BFXNA Inc.’s

Motion To Dismiss Certain Claimants’ Ancillary Petitions is DENIED.



IT IS SO ORDERED.

DATED:
                                                         Colleen Kollar-Kotelly
                                                         United States District Judge
